                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 PDV USA, Inc.

                                                           No. 20-cv-03699-JGK

                   Plaintiff,
                                                           DEFENDANT’S SECOND SET OF
 v.                                                        INTERROGATORIES TO
                                                           PLAINTIFF

 Interamerican Consulting, Inc.



                   Defendant.



       DEFENDANT’S SECOND SET OF INTERROGATORIES TO PLAINTIFF
       Defendant, Interamerican Consulting, Inc. (“Plaintiff”), pursuant to Rule 33 of the Federal

Rules of Civil Procedure requests that Plaintiff, PDV USA, Inc. (“PDV USA”), answer the

following Interrogatories, in writing and under oath, within the time prescribed by the Rule.

                                DEFINITIONS AND INSTRUCTIONS

       1.      The definitions and rules of construction set forth in Rules 26 and 34 of the Federal

Rules of Civil Procedure and Rule 26.3 of the Local Rules for the United States District Court for

the Southern District of New York (“Local Rules”) shall apply to these requests. All terms not

otherwise defined shall have then ordinary and common meanings.

       2.      The term “Action” refers to the lawsuit filed by Plaintiff against Defendants titled

PDV USA, Inc. v. Interamerican, Inc. in the United States District Court for the Southern District

of New York, Case No. 20-cv-03699-JGK.

       3.      The term “PDV USA” refers to PDV USA, Inc.
       4.      The term “Interamerican” refers to Interamerican Consulting Inc.

       5.      The term “person” means any natural person, any business entity (whether a

corporation, partnership, or other business association), any government or political subdivision

thereof, or governmental body, commission board, agency, bureau, or department.

       6.      The terms “document” or “documents” mean the original and all drafts or copies

thereof which are different in any way from the original (whether by interlineation, receipt stamps

notation, indication of copies sent or received, or otherwise) and all attached or annexed materials

to any written, typewritten, handwritten, printed, graphic, photographic or recorded material,

correspondence, telegrams, facsimiles, telexes, emails, texts, memoranda, records of meetings,

conferences, telephone or other communications, pamphlets, books, notes, reports, studies,

transcripts, indexes, records, charts, tabulations, lists, analyses, graphs, diagrams, estimates,

minutes, tapes, photographs and photographic films, sound recordings, phonograph records, video

tapes, data compilations from which information can be obtained or can be translated into a form

reasonably usable, computer data files, tapes, electronic media, inputs or outputs, and other

computer-readable records or programs, all electronically stored or created data, whether written,

typed, printed, punched, filmed, marked in any way, data or information stored in any form

readable or accessible by computer including, but not limited to, magnetic tape storage media, hard

disks, hard drives, floppy disks, compact disks, computer tapes, memory and magnetic tapes of

any kind, backup copies and “deleted” files on any computer storage devise or media, including

the printed output of any such electronic data/communications processing equipment or

magnetically stored information, computer memory, optical media, magnetic media, and other

physical media on which notations or making of any kind can be affixed whether located on-site

or off-site. All drafts, copies or preliminary materials which are different in any way from the




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executed or final documents shall be considered to be additional documents as the terms are used

herein.

          7.    The term “communication(s)” shall mean every manner or means of disclosure,

transfer, or exchange, and every disclosure, transfer or exchange of information whether orally or

face-to-face, or by telephone, mail, e-mail, text, computer disk, telecopy or facsimile, personal

delivery, documents, or otherwise.

          8.    The terms “and” and “or” shall be construed conjunctively or disjunctively,

whichever would make each request inclusive rather than exclusive in a given request.

          9.    The phrase “pertaining or relating” means being connected or associated, or

referring to or consisting of something.

          10.   The term “information” means data of any kind recorded in any language, including

machine language and recorded numerically, and in any form of expression.

          11.   The terms “identify” or “identification” when used in reference to an individual

person mean to state his/her full name, present address, if known, and his/her present employment

position and business affiliation. When used in reference to a person other than an individual

person, “identify” or “identification” means to state whether such a person is a corporation,

partnership, or other organization, and the name, present or last known address, and the principal

place of business thereof. Once any person has been identified properly it shall be sufficient

thereafter when identifying that same person to state his/her name only.

          12.    The term “Citgo” refers to Citgo Petroleum Corporation and any of its affiliates,

including, their assignors, merged, consolidated or acquired predecessors or successors; divisions,

units, and subsidiaries, whether or not wholly-owned; including present and former officers,

directors, agents, or employees of any of the foregoing, and including all other persons acting or




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purporting to act on their behalf; experts, persons consulted concerning any factual matter or

matters of opinion relating to any of the facts or issues involved in this action, and unless

privileged, the party’s attorney.

        13.    The term “Contract” refers to the Consulting Agreement dated March 21, 2017,

which was entered by PDV USA, Inc. and Interamerican Consulting, Inc

        14.    The term “relevant time period” refers to January 1, 2017 through September 15,

2021.

        15.    The term “DOJ Presentation” refers to page 52 of the PDVSA 2019-2020

Presentacion de Resultados (Presentation of Results). A true and correct copy of page 52 of the

PDVSA 2019-2020 Presentacion de Resultados (Presentation of Results) is attached hereto as

Exhibit “A.”

        16.    The term “PDV entities” refers to PDV USA, PDVSA Ad Hoc Board, PDV

Holding, Inc., and any other PDV subsidiary or affiliate in the world.

        17.    For all responsive documentation previously produced to Defendant, please

identify the bates numbers.

                                         INTERROGATORIES

        1.     Identify the name, address, job title, and contact information of the person, persons,

and/or entity who initially solicited Interamerican to enter into the Contract, as well as all

documents, meetings, discussions, and communications in which solicitation of Interamerican’s

consultation services were discussed.

        2.     Identify the name, address, job title, and contact information for any and all persons

within PDV USA who determined and approved the terms, requirements, payment amount, job

performance, and other specifications for the Contract.




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       3.      Identify the name, address, job title, and contact information for any and all persons

within PDV USA who communicated with Interamerican, the topics discussed in each

communication, and identify all documents evidencing such communication, including the dates

of when such communications took place.

       4.      Identify any and all internal communications within PDV USA regarding any

dissatisfaction with the performance of Interamerican under the Contract, including to whom and

by whom it was communicated, the date it was communicated, and the manner of communication.

Also identify all documents and communications that demonstrate Interamerican’s failure “to

provide the services and deliverables set out in the Contract,” or that “Interamerican did not

perform any of the services that it contracted to perform,” as stated in PDV USA’s Amended

Complaint.

       5.      Identify the persons within PDV USA with authority to terminate the Contract, the

date the required written termination notice specified in paragraph two to the Contract was sent to

Interamerican, and the manner in which the termination notice was sent.

       6.      Identify the dates on which the decision to refuse to pay funds due and owing under

the Contract was communicated to Interamerican, the manner of communication, and the names,

job title, and contact information of the person(s) involved in such decision and communication.

       7.      Identify the dates, locations, as well as name and job titles of any participants of

any meetings or communications by PDV USA officers, employees, or authorized representatives

in which the early termination clause of the Contract was discussed and the date the Contract was

terminated.




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        8.      Identify the dates, locations, as well as name and job titles of any participants of

any meetings or communications by PDV USA officers, employees, or authorized representatives

in which the assignment of the Contract was discussed.

        9.      Identify all personnel of PDV USA or any of the PDV entities who communicated

with Interamerican before, during, and after the term of the Contract.

        10.     Identify the person or persons within all PDV entities who “consulted with the U.S.

Department of Justice” prior to filing this lawsuit, as stated on the DOJ Presentation, as well as the

name, job title, and contact information for any person or persons within the PDV entities who

participated in drafting page 52 of the DOJ Presentation. Also identify the dates, locations, and job

titles of all participants of said “consultations.”

        11.     Identify the person or persons within the U.S. Department of Justice with whom

anyone within the PDV entities consulted, met with, discussed, or in any way communicated with,

prior to filing this lawsuit, as stated on the DOJ Presentation. Also identify the dates, locations,

and job titles of all participants of said communications.

        12.     Identify all services, documents, meetings, discussions, and communications which

show that “the parties understood that the services were intended for the benefit of PDVSA, not

PDV USA,” as stated in PDV USA’s Amended Complaint.

        13.     Identify all documents, communications, meetings, or any and all communications,

in which hiring third-party government relations firms such as Carribbean Style, Avenue Strategy,

Wiss Partners, Vantage Knight, Cornerstone Government Affairs, was discussed. Also identify the

name and job title of any and all personnel of PDV USA or any of the PDV entities who were

involved in these communications.




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        14.     Identify all PDV entities around the world and describe the relationship between

the different entities.

        15.     Identify any and all PDV USA personnel that also works for, assist or support in

any way, any other PDV entity.

        16.     Identify any and all communications with Interamerican directing those reports be

only in writing.

        17.     Identify all roles, responsibilities, titles, functions, and any and all relationships for

Pio Gonzalez within PDV USA and PDVSA.




                   <CERTIFICATE OF SERVICE ON FOLLOWING PAGE>



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Dated: Winter Park, FL
March 29, 2022



                         /s/ Jason Johnson
                         Tucker H. Byrd
                         Florida Bar No. 381632
                         Min Cho
                         Florida Bar No. 754331
                         Jason Johnson
                         Florida Bar No. 186538
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                         Counsel for Defendant/Counter-Plaintiff




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 29, 2022, a copy of the foregoing has been furnished

via electronic mail to all counsel of record.



                                                /s/ Jason Johnson
                                                Tucker H. Byrd
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                                                Min Cho
                                                Florida Bar No. 754331
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EXHIBIT A
